. Case: 1:21-cr-00085-SJD Doc #: 32-2 Filed: 09/10/21 Page: 1 of 3 PAGEID #: 123
U.S. Depariment of Justice
Bureau of Alcohol, Tobacco, Firearms and Explosives
Firearms Technology Criminal Branch
Report of Technical Examination

 

 

 

 

 

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To: Date:
Special Agent
Bureau of Alcohol, Tobacco, Firearms and Explosives Ui#: 77301 4-20-0019
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Suite 8-503 RE: GENCO, Tres
Cincinnati, OH 45202
FTCB#: 2020-412-CJT
313692
Date Exhibits Received: 03/18/2020 Type of Examination Requested:
Delivered By: FedEx 7700 3719 6550 Examination, Test, Classification

 

 

Exhibits:

1. Glock-type, 9mm Luger caliber semiautomatic pistol, no manufacturer’s marks or serial number.
2. Palmetto State Armory, model PA-15, 5.56x45mm caliber firearm, serial number SCD040266,
equipped with a Slidefire, bump stock, no serial number (suspected machinegun).

Pertinent Authority:

Title 28 of the United States Code (U.S.C.) provides the Bureau of Alcohol, Tobacco Firearms and Explosives
(ATF) the authority to investigate criminal and regulatory violations of Federal firearms law at the direction of
the Attorney General. Under the corresponding Federal regulation at 28 C.F.R. 0.130 the Attorney General
provides ATF with the authority to investigate, administer, and enforce the laws related to firearms, in relevant
part, under 18 U.S.C. Chapter 44 (Gun Control! Act) and 26 U.S.C. Chapter 53 (National Firearms Act).
Pursuant to the aforementioned statutory and regulatory authority, the ATF Firearms Ammunition and
Technology Division (FATD) provides expert technical support on firearms and ammunition to federal, state
and local law enforcement agencies regarding the Gun Control Act and the Nationa! Firearms Act.

The amended Gun Control Act of 1968 (GCA) defines “firearm” to include the following:

“,..any weapon (including a starter gun) which will or is designed to or may readily be converted

to expel a projectile by the action of an explosive... [and] ...the frame or receiver of any such weapon...," (See
18 U.S.C. § 921(a)(3).)

Additionally, the GCA defines the term “machinegun” as:

“.. dias the meaning given such term in section 5845(b) of the National Firearms Act (26 U.S.C. 5845(b)).”
(See 18 U.S.C. § 921(a)(23).)

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US000317
Case: 1:21-cr-00085-SJD Doc #: 32-2 Filed: 09/10/21 Page: 2 of 3 PAGEID #: 124

Special Agent 77301 1-20-0019

2020-4 12-CJT
Page 2

27 CFR § 478.11 revises the definition of “machinegun” by adding two sentences at the end of the definition to
read as follows: “...For purposes of this definition, the term ‘‘automatically"’ as it modifies ‘‘shoots, is
designed to shoot, or can be readily restored to shoot,'’ means functioning as the result of a self-acting or self-
regulating mechanism that allows the firing of multiple rounds through a single function of the trigger; and
“single function of the trigger’’ means a single pull of the trigger and analogous motions. The term ‘‘machine
gun’’ includes a bump-stock-type device, i.e., a device that allows a semi-automatic firearm to shoot more than
one shot with a single pull of the trigger by harnessing the recoil energy of the semiautomatic firearm to which
it is affixed so that the trigger resets and continues firing without additional physical manipulation of the
trigger by the shooter."

The National Firearms Act (NFA) § 5845(a) defines “firearm” to include, “...(6) a machinegun....”

Also, the NFA 26 U.S.C. § 5845(b) defines “machinegun” as

“*,.-aily weapon which shoots, is designed to shoot, or can be readily restored to shoot, automatically more than
one shot, without manual reloading, by a single function of the trigger. The term shall also include the frame or

receiver of any such weapon, any part designed and intended solely and exclusively, or combination rt
designed and intended, for use in converting a weapon into a machinegun, and any combination of parts from
which a machinegun can be assembled if such parts are in the possession or under the control of a person.”

27 CFR § 479.11 revises the definition of “machinegun” by adding two sentences at the end of the definition to
read as follows: “...For purposes of this definition, the term ‘‘automatically"' as it modifies ‘‘shoots, is
designed to shoot, or can be readily restored to shoot,’’ means functioning as the result of a self-acting or self-
regulating mechanism that allows the firing of nuiltiple rounds through a single function of the trigger; and
“single function of the trigger'' means a single pull of the trigger and analogous motions, The term ‘‘machine
gun’ includes a bump-stock-type device, i.e., a device that allows a semi-automatic firearm to shoot more than
one shot with a single pull of the trigger by harnessing the recoil energy of the semiautomatic firearm to which
it is affixed so that the trigger resets and continues firing without additional physical manipulation of the
trigger by the shooter.”

Further, the NFA, 26 U.S.C. § 5842, “Identification of firearms,” states: “... (a) Identification of firearms
other than destructive devices. - Each manufacturer and importer and anyone making a firearm shall identify
each firearm, other than a destructive device, manufactured, imported, or made by a serial number which may
not be readily removed, obliterated, or altered, the name of the manufacturer, importer, or maker, and such
other identification as the ...[Attorney General]... may by regulations prescribe. (b) Firearms without serial
number. - Any person who possesses a firearm, other than a destructive device, which does not bear the serial
number and other information required by subsection (a) of this section shall identify the firearm with a serial
number assigned by the ... [Attorney General]... and any other information the...{latter]... may by regulations
prescribe.”

ATF Form = 3311.2
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US000318
Case: 1:21-cr-00085-SJD Doc #: 32-2 Filed: 09/10/21 Page: 3 of 3 PAGEID #: 125

Special Agent 77301 1-20-0019

2020-412-CJT
Page 3

Findings:

Exhibit 1 is a 9mm Luger caliber firearm of unknown origin. The firearm has been assembled from a
Polymer80 brand pistol kit.

During my examination, I observed the following external markings on Exhibit |:

On the right side of the grip housing
© PF940V2 POLYMER380, INC.

e MADE IN USA DAYTON, NV
On the right and left side of the grip housing
°* P80

T conducted a function check to see if the assembled Exhibits were functioning correctly. When I pulled the
slide to the rear and eased it into battery, the Exhibits functioned as a semiautomatic pistol. However, when I
pulled the slide to the rear fully and released it, the trigger would not reset and appeared to function as a
machinegun.

I test-fired Exhibit | on March 19, 2020, at the ATF test range, Martinsburg, West Virginia, using commercially
available, Blazer brand, 9mm Luger caliber ammunition. [ inserted a one round ammunition load and pulled the
trigger. Exhibit | successfully expelled a projectile by the action of an explosive. I then inserted a two round
ammunition load and pulled the trigger. Exhibit 1 fired the first round but failed to cycle properly and did not
extract the spent casing.

I repeated this test with similar results. | then switch to commercially available Magtech ammunition and
repeated the test. Exhibit 1 fired both rounds automatically with a single function of the trigger. Finally, I
inserted a 5 round ammunition load and pulled the trigger. Exhibit | fired the first two rounds automatically
with a single function of the trigger but did not eject the second fired casing. I repeated this method of test-fire
twice more with the same results.

I removed the slide assembly from the pistol grip housing and noted that the rear rails have been removed, The
rails are what the slide assembly attaches to. With the rear rails removed, the slide will raise up during operation
causing the firing pin not to engage the trigger bar cruciform. This allows the assembled Exhibits to function
like a machinegun.

Exhibit 2 is a 5.56x45mm caliber firearm utilizing a semiautomatic receiver manufactured by DC Machine
LLC, in Summerville, South Carolina and marketed by Palmetto State Armory LLC in West Columbia, South
Carolina. The Exhibit is equipped with a Slidefire brand bump-stock device further described as Exhibit 2A.
The Exhibit is approximately 34-3/8 inches in overal] length and contains a barrel approximately 16-1/4 inches
in length.

ATF Form 3311.2
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